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                          Wilbon v. Plovanich, 12 C 1132
                    Chicago Public Schools Employee Salary Data

Summary chart of 2010 -2018 "Employee Position Rosters" from Chicago Public Schools website

     https://cps.edu/About_CPS/Financial_information/Pages/EmployeePositionFiles.aspx

                                                                     Annual
      Record date Employee name        Job title          Position # Gross Salary
      11/15/2010 David D. Wilbon       Custodial             149761 $ 24,232.00
                  Raymond Montanez     Factor Custodial      155314 $ 58,077.30


      8/1/2011     David D. Wilbon     Custodial             149761 $ 24,752.00
                   Noel Gonzalez       Factor Custodial      155314 $ 56,322.52


      7/11/2012    David D. Wilbon     Custodial             149761 $ 26,104.00
                   Noel Gonzalez       Factor Custodial      155314 $ 56,322.52



      10/1/2013    David D. Wilbon     Custodial             404913 $ 29,891.00
                   Noel Gonzalez       Factor Custodial      492974 $ 58,599.00


      12/31/2013 David D. Wilbon       Custodial             404913 $ 29,120.00
                 Noel Gonzalez         Factor Custodial      492974 $ 58,599.00


      3/31/2014    David D. Wilbon     Custodial             492581 $ 29,120.00
                   Noel Gonzalez       Factor Custodial      492974 $ 58,599.00


      6/30/2014    David D. Wilbon     Custodial             492975 $ 29,120.00
                   Noel Gonzalez       Factor Custodial      492974 $ 58,599.00


      9/30/2014    David D. Wilbon     Custodial             492975 $ 33,733.00
                   Noel Gonzalez       Factor Custodial      492974 $ 59,771.00


      12/30/2014 David D. Wilbon       Custodial             492975 $ 33,733.00
                 Noel Gonzalez         Factor Custodial      492974 $ 59,771.00
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3/31/2015   David D. Wilbon   Custodial          492975 $ 33,733.00
            Noel Gonzalez     Factor Custodial   492974 $ 59,771.00


6/30/2015   David D. Wilbon   Custodial          492975 $ 33,733.00
            Noel Gonzalez     Factor Custodial   492974 $ 59,771.00


9/30/2015   David D. Wilbon   Custodial          492975 $ 34,840.00
            Noel Gonzalez     Factor Custodial   492974 $ 60,966.00


12/31/2015 David D. Wilbon    Custodial          492975 $ 34,840.00
           Noel Gonzalez      Factor Custodial   492974 $60,966.00


3/31/2016   David D. Wilbon   Custodial          492975 $ 34,840.00
            Noel Gonzalez     Factor Custodial   492974 $ 60,966.00


6/30/2016   David D. Wilbon   Custodial          492975 $ 34,840.00
            Noel Gonzalez     Factor Custodial   492974 $ 60,966.00


9/30/2016   David D. Wilbon   Custodial          492975 $ 34,840.00
            Noel Gonzalez     Factor Custodial   492974 $ 60,966.00


12/31/2016 David D. Wilbon    Custodial          492975 $ 34,840.00
           Noel Gonzalez      Factor Custodial   492974 $ 60,966.00


3/31/2017   David D. Wilbon   Custodial          492975 $ 34,840.00
            Noel Gonzalez     Factor Custodial   492974 $ 62,246.00


6/30/2017   David D. Wilbon   Custodial          492975 $ 34,840.00
            Noel Gonzalez     Factor Custodial   492974 $ 62,246.00


9/30/2017   David D. Wilbon   Custodial          492975 $ 35,537.00
            Noel Gonzalez     Factor Custodial   492974 $ 63,491.00
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12/31/2017 David D. Wilbon    Custodial          492975 $ 35,537.00
           Noel Gonzalez      Factor Custodial   492974 $ 63,491.00


3/31/2018   David D. Wilbon   Custodial          492975 $ 35,537.00
            Noel Gonzalez     Factor Custodial   492974 $ 63,491.00


6/30/2018   David D. Wilbon   Custodial          492975 $ 35,537.00
            Noel Gonzalez     Factor Custodial   492974 $ 63,491.00
